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 6   Special Master
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN JOSE DIVISION
11
      LANGUAGE LINE SERVICES, INC.,                      No. C 10-02605 JW
12
                             Plaintiff,                  DISCOVERY ORDER NO. 3
13
        vs.
14

15    LANGUAGE SERVICES ASSOCIATES,
      LLC, et al.,
16
                             Defendants.
17

18            Defendant, Language Service Associates, Inc.’s, “Request for Special Master’s
19   Recommendation That LSA Can Communicate With National Grid” (an entity which
20   appears on plaintiff’s Trade Secret list) was served on the Special Master and on plaintiff’s
21   counsel at 6:53 p.m. on December 2, 2010. In response thereto, the Special Master set up
22   an informal telephone conference for December 3, 2010. In the course of that telephone
23   conference, counsel for both sides were given the opportunity to be heard. Following that
24   informal hearing, the following interim order was issued:
25
              Plaintiff, Language Line, may file an opposing brief on or before noon, December 9,
26
     2010. If plaintiff believes that discovery is necessary in order to fully respond to the
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 1   pending motion, it may so state in its opposition and set out what discovery it presently

 2   believes will be required.

 3
            The Special Master advised counsel that in view of the pending December 13, 2010
 4
     hearing on defendant, LSA’s, objection to recommended Discovery Order No. 2, he would
 5
     not rule on the present motion until the Court had issued its ruling on the objection.
 6

 7          Defendant, LSA, requested permission to allow a potential customer, National Grid,

 8   to arrange for site inspections at defendant’s facilities as part of a presently ongoing

 9   bidding process. The Special Master ordered that no such site visit could be arranged

10   pending further order on the pending motion and the Court’s Order on the objection to

11   recommended Order No. 2.

12
            Defendant, LSA, was advised that, if it chose, it could respond to National Grid’s
13
     email requesting a site visit by stating that it was not in a position to do so, pending further
14
     order of Court. Defendant’s counsel was instructed to submit the language of any such
15
     email to the Special Master and to plaintiff’s counsel before sending it to National Grid.
16

17          The Special Master notes that while defendant, LSA, asserts that the presently

18   pending motion is of the greatest urgency, LSA was aware of the pending problem no later

19   than July 30, 2010 (as set out in the declaration of defendant’s declarant, Eric Hope) but

20   did not raise this issue until December 2, 2010.

21
            The parties have ten days from the date of this Order to file any objection.
22

23

24   Dated: December 3, 2010                                  /s/ Thomas HR Denver
                                                              THOMAS HR DENVER
25

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